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                        EXHIBIT 1
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                                     4 Telephone: (619) 886-7224
                                         thomasrutledgelaw@gmail.com
                                     5
                                     6 Attorneys for Plaintiffs
                                     7                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                     8
                                                              COUNTY OF SAN DIEGO-CENTRAL DIVISION
                                     9
                                         JENNIFER MACHADO, individually              )   Case No.:
                                    10 and as an aggrieved employee pursuant         )
                                    11 to the Private Attorneys General Act          )   INDIVIDUAL AND
                                         (PAGA) on behalf of the State of            )   REPRESENTATIVE ACTION
                                    12 California and other aggrieved                )   COMPLAINT PURSUANT TO
Rancho Santa Fe, California 92091
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                                    13 employees,                                    )   THE PAGA FOR:
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                                                                                     )     1. Failure to pay
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                                    14          Plaintiffs,                          )         minimum/regular wages;
                                    15                                               )     2. Failure to Pay State Overtime;
                                          vs.
                                                                                     )     3. Failure to Pay Wages Timely;
                                    16                                               )     4. Failure to Comply with Meal
                                         KLAP6 TECHNOLOGIES LLC, a
                                    17 California limited liability company;         )         and Rest Break Laws;
                                                                                     )     5. Failure to Provide Accurate
                                    18 KAMALNATH                                     )         Wage Statements;
                                         NAGASUBRAMANIAM, an
                                    19 individual; and DOES 1 through 50,            )     6. Failure to Provide and
                                                                                     )         Maintain Records;
                                    20
                                                Defendants.                          )     7. Failure to Reimburse
                                    21                                               )         Expenses;
                                                                                     )     8. Failure to Pay Sick Pay;
                                    22
                                                                                     )     9. Retaliation; and
                                    23                                               )     10. Claim for miscellaneous Labor
                                                                                     )         Code Violations via the PAGA.
                                    24
                                                                                     )
                                    25                                               )
                                                                                     )
                                    26
                                    27
                                    28
                                                         COMPLAINT-Machado, et al. v. Klap6 Technologies, LLC, et al.
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                                     1         Plaintiff JENNIFER MACHADO, on behalf of herself, the State of California,
                                     2 and acting for the interests of other current and former employees (Aggrieved
                                     3 Employees) (cumulatively the “Plaintiffs”), alleges the following:
                                     4                               NATURE OF THE ACTION
                                     5         1.    This is an individual and California Private Attorneys General Act
                                     6 (PAGA) representative action seeking, among other things, the recovery of penalties
                                     7 for Defendants’ wage and hour violations.
                                     8         2.    Defendant KLAP6 TECHNOLOGIES LLC is a labor contractor that
                                     9 employs hundreds of Aggrieved Employees statewide.
                                    10         3.    Defendant KLAP6 TECHNOLOGIES LLC provides labor to various
                                    11 client employers doing business in California.
                                    12         4.    By this action, Plaintiffs seek all remedies available to them within the
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                                    13 meaning of current case law distinguishing Viking River Cruises, Inc. v. Moriana
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                                    14 (2022) ___ U.S. ___ [142 S.Ct. 1906]. (See Piplack v. In-N-Out Burgers (2023) 88
                                    15 Cal.App.5th 1281; Galarsa v. Dolgen California, LLC (2023) 88 Cal.App.5th 639;
                                    16 Gregg v. Uber Technologies, Inc. (Mar. 24, 2023, No. B302925) ___Cal.App.5th___
                                    17 [2023 Cal. App. LEXIS 221]; Million Seifu v. Lyft, Inc. (Mar. 30, 2023, No.
                                    18 B301774) ___Cal.App.5th___ [2023 Cal. App. LEXIS 247]; Prostek v. Lincare
                                    19 Inc.(E.D. Cal. March 21, 2023) 2023 U.S. Dist. LEXIS 48155.)
                                    20         5.    The claims of individual Aggrieved Employees, including the named
                                    21 Plaintiff, is well under the $75,000 jurisdictional threshold for federal jurisdiction.
                                    22         6.    Upon information and belief, the total damages for the Represented
                                    23 Employees are not anticipated to exceed $5,000,000.
                                    24         7.    Further, there is no federal question at issue because all issues related to
                                    25 the payment wages alleged herein are based solely on California law and statutes.
                                    26         8.    Finally, the claims alleged herein concern only California workers.
                                    27         9.    Please take notice that removal of this action to federal court under Class
                                    28 Action Fairness Act on the alleged basis the amount in controversy exceeds
                                                                                 -2-
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                                     1 $5,000,000 without admissible evidence will be in bad faith and, as such, may subject
                                     2 the moving party or their counsel to monetary sanctions/attorneys’ fees.
                                     3                             JURISDICTION AND VENUE
                                     4         10.   Pursuant to Article VI, § 10 of the California Constitution, subject matter
                                     5 jurisdiction is proper in the Superior Court of California, County of San Diego, State
                                     6 of California because Plaintiffs allege claims arising under California law.
                                     7         11.   This Court has jurisdiction over the Defendants because each is an
                                     8 association, corporation, business entity, or individual that conducts substantial
                                     9 business in the State of California.
                                    10         12.   Pursuant to § 395 of the California Code of Civil Procedure, venue is
                                    11 proper in the Superior Court of California for the County of San Diego because this is
                                    12 where the misconduct occurred to the named Plaintiff.
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                                    13                                        THE PARTIES
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                                    14         13.   Plaintiff JENNIFER MACHADO is an individual residing in the County
                                    15 of San Diego, California.
                                    16         14.   Defendant KLAP6 TECHNOLOGIES LLC is a California limited liability
                                    17 company doing business in the State of California.
                                    18         15.   Defendant KAMALNATH NAGASUBRAMANIAM is an individual and
                                    19 is and was Defendant KLAP6 TECHNOLOGIES LLC’s corporate officer/managing
                                    20 agent and, as such, this Defendant is believed to be an “other person acting on behalf
                                    21 of an employer” within the meaning of Labor Code §§ 558 and 558.1.
                                    22         16.   The true names and capacities, whether individual, corporate, associate or
                                    23 otherwise of the Defendants named herein as DOES 1 through 50, are unknown to
                                    24 Plaintiffs at this time. Plaintiffs therefore sues said Defendants by such fictitious names
                                    25 pursuant to § 474 of the California Code of Civil Procedure. Plaintiffs will seek leave
                                    26 to amend this Complaint to allege the true names and capacities of DOES 1 through 50
                                    27 when their names are ascertained. Plaintiffs are informed and believe, and based
                                    28 thereon allege, that each of the DOE Defendants is in some manner liable to Plaintiffs
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                                     1 for the events and actions alleged herein.
                                     2         17.     Unless otherwise specified by name, the named Defendants and DOES 1
                                     3 through 50 will be collectively referred to as "DEFENDANT EMPLOYER” and/or
                                     4 “Defendants.”
                                     5         18.     Plaintiffs are informed and believe, and based thereon allege, that each
                                     6 Defendant was acting as an agent, joint venturer, an integrated enterprise and/or alter
                                     7 ego for each of the other Defendants and each were co-conspirators with respect to the
                                     8 acts and the wrongful conduct alleged herein so that each is responsible for the acts of
                                     9 the other pursuant to the conspiracy and in proximate connection with the other
                                    10 Defendant(s).
                                    11         19.     Plaintiffs are informed and believe, and based thereon allege, that each
                                    12 Defendant was acting partly within and partly without the scope and course of their
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                                    13 employment, and was acting with the knowledge, permission, consent, and ratification
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                                    14 of every other Defendant.
                                    15         20.     Plaintiffs are informed and believe, and based thereon allege that each of
                                    16 the Defendants was an agent, managing general partner, managing member, owner, co-
                                    17 owner, partner, employee, and/or representative of each of the Defendants and was at
                                    18 all times material hereto, acting within the purpose and scope of such agency,
                                    19 employment, contract and/or representation, and that each of them is jointly and
                                    20 severally liable to Plaintiffs.
                                    21         21.     Plaintiffs are informed and believe, and based thereon allege that each of
                                    22 the Defendants is liable to Plaintiffs under legal theories and doctrines including but
                                    23 not limited to (1) joint employer; (2) integrated enterprise; (3) agency; and/or (4) alter
                                    24 ego, based in part, on the facts set forth below.
                                    25         22.     Plaintiffs are informed and believe, and based thereon allege, that each
                                    26 of the named Defendants are part of an integrated enterprise and have acted or
                                    27 currently act as the employer and/or joint employer of the Plaintiffs/Class Members
                                    28 making each of them liable for the wage and hour violations alleged herein.
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                                     1         23.    Plaintiffs are informed and believe, and therefore allege, that one, more
                                     2 than one, or each of the named Defendants are liable to the Plaintiffs under legal
                                     3 theories and doctrines including but not limited to (1) the common law joint employer
                                     4 doctrine and/or (2) Labor Code § 2810.3 because at least one of these named
                                     5 Defendants worked as the central hub to an overall business operation by which the
                                     6 interrelationship between these Defendants makes each of the Defendants liable for
                                     7 the wage and hour violations alleged herein.
                                     8                                GENERAL ALLEGATIONS
                                     9         24.    Defendant KLAP6 TECHNOLOGIES LLC is a labor contractor that
                                    10 provides labor to client employers, such as Skaggs Company LLC, Skaggs Holdings
                                    11 LLC, Erin Skaggs, Jarrod Skaggs, and Kenneth Wilson.
                                    12         25.    At all times relevant, Defendants employed the named Plaintiff as a
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                                    13 quasi hotel worker on an hourly basis as a non-exempt nonunion worker who
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                                    14 performed work in the County of San Diego, California within the last year until
                                    15 Defendants terminated her on or about May 12, 2023 after receiving a letter from her
                                    16 lawyer requesting her personnel file.
                                    17         26.    The named Plaintiff is an “aggrieved employee” because Defendants
                                    18 employed Plaintiff in California and Plaintiff experienced one or more of the alleged
                                    19 Labor Code violations committed against the Plaintiff, and therefore the named
                                    20 Plaintiff is properly suited to act on behalf the state, and collect civil penalties for all
                                    21 violations committed against the Represented Employees, who are also aggrieved
                                    22 employees as defined by Labor Code § 2699(c).
                                    23         27.    California law provides that an aggrieved employee may file a
                                    24 representative action under the PAGA against an employer for civil penalties in
                                    25 connection with violations of the Labor Code and Wage Order.
                                    26         28.    On information and belief, current and former employees of Defendants
                                    27 suffered from Defendants’ Labor Code violations.
                                    28
                                                                                 -5-
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                                     1 Wage Statement Claims.
                                     2         29.   From at least one year before the filing of this action and continuing to
                                     3 the present, and pursuant to company policy and/or practice and/or direction,
                                     4 Plaintiffs are informed and believe, and therefore allege that Defendants issued the
                                     5 named Plaintiff and other Aggrieved Employees unlawful wage and earning
                                     6 statements.
                                     7         30.   Plaintiffs are informed and believe, and therefore allege that during all
                                     8 times relevant, Defendant KLAP6 TECHNOLOGIES LLC is and was a “Labor
                                     9 Contractor” within the meaning of Labor Code § 2810.3 and a “temporary services
                                    10 employer” as defined in Labor Code § 201.3.
                                    11         31.   Plaintiffs are informed and believe, and therefore allege that Plaintiffs
                                    12 and many Aggrieved Employees worked for a “Client employer” within the meaning
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                                    13 of Labor Code § 2810.3, such as SKAGGS COMPANY LLC, SKAGGS HOLDINGS
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                                    14 LLC, and many others.
                                    15         32.   Labor Code § 226 subdivision (a) provides, “[I]f the employer is a
                                    16 temporary services employer as defined in Section 201.3, the rate of pay and the total
                                    17 hours worked for each temporary services assignment” must be reported on each
                                    18 wage and earning statement the temporary services employer issues to its employees.
                                    19         33.   During all times relevant, Plaintiffs allege that Defendants were required
                                    20 to comply with the foregoing requirement of Labor Code § 226 subdivision (a)
                                    21 because Defendant KLAP6 TECHNOLOGIES LLC is and was during all times
                                    22 relevant a “temporary services employer” within the meaning of Labor Code § 201.3.
                                    23         34.   Defendants failed to comply with Labor Code § 226 subdivision (a)
                                    24 because the wage and earning statements it issued to the named Plaintiff and
                                    25 Aggrieved Employees are missing information showing “the total hours worked for
                                    26 each temporary services assignment.”
                                    27         35.   In addition to the foregoing stand-alone claim under Labor Code § 226,
                                    28 Plaintiffs are informed and believe, and therefore allege that Plaintiff’s paystubs and
                                                                                -6-
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                                     1 those of similarly situated employees of Defendants were inaccurate because
                                     2 Defendants failed to pay them all wages to which they had a right to receive, as
                                     3 alleged herein, supporting a derivative claim under Labor Code § 226.
                                     4         36.   As to Plaintiffs’ PAGA case, this claim is also premised, in part, on
                                     5 Plaintiffs’ right to pursue all Labor Code claims on behalf of Aggrieved Employees
                                     6 per Huff v. Securitas Security Services USA, Inc. (2018) 23 Cal.App.5th 745.
                                     7 Wage Claims.
                                     8         37.   From at least one year before the filing of this action and continuing to
                                     9 the present, and pursuant to company policy and/or practice and/or direction,
                                    10 Plaintiffs are informed and believe, and therefore allege, that Defendants employed
                                    11 failed to pay Aggrieved Employees all wages, e.g., overtime, minimum wages, etc., as
                                    12 required by law.
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                                    13         38.   This claim is premised on Plaintiffs’ right to pursue all Labor Code
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                                    14 claims on behalf of Aggrieved Employees per Huff v. Securitas Security Services
                                    15 USA, Inc. (2018) 23 Cal.App.5th 745.
                                    16 Failure to Pay Meal and Rest Break Premiums.
                                    17         39.   From at least one year before the filing of this action and continuing to
                                    18 the present, and pursuant to company policy and/or practice and/or direction,
                                    19 Plaintiffs are informed and believe and based thereupon allege that Defendants
                                    20 deprived Plaintiffs and other hourly employees from taking lawful meal and rest
                                    21 periods and did not pay and refused to pay premium pay to workers.
                                    22         40.   Plaintiff alleges she worked many ten hour shifts, yet Defendants only
                                    23 provided one meal break, not two as required under California law.
                                    24         41.   Plaintiff alleges that Defendants also interrupted her rest breaks in
                                    25 violation of California law. (See Augustus v. ABM Security Services (2016) 2 Cal.5th
                                    26 257.)
                                    27         42.   This claim is also premised on Plaintiffs’ right to pursue all Labor Code
                                    28 claims on behalf of Aggrieved Employees per Huff v. Securitas Security Services
                                                                                -7-
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                                     1 USA, Inc. (2018) 23 Cal.App.5th 745.
                                     2 Unreimbursed Work-Related Expense Claims.
                                     3         43.   From at least one year before the filing of this action and continuing to
                                     4 the present, and pursuant to company policy and/or practice and/or direction,
                                     5 Plaintiffs are informed and believe and based thereupon allege that Defendants failed
                                     6 to reimburse its employees for work related expenses.
                                     7         44.   This claim is premised, in part, on Defendants’ policy of encouraging
                                     8 Aggrieved Employees to use their personal smart phones during the workday,
                                     9 especially for using the google translate application when communicating with the
                                    10 hundreds of illegal migrants her employer was hired to accommodate.
                                    11         45.   Defendants, however, failed to reimburse Aggrieved Employees for the
                                    12 above-described work related use of their personal phones in violation of California
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                                    13 law.
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                                    14         46.   This claim is also premised on Plaintiffs’ right to pursue all Labor Code
                                    15 claims on behalf of Aggrieved Employees per Huff v. Securitas Security Services
                                    16 USA, Inc. (2018) 23 Cal.App.5th 745.
                                    17 Derivative Claims.
                                    18         47.   From at least one year before the filing of this action and continuing to
                                    19 the present, and pursuant to company policy and/or practice and/or direction,
                                    20 Plaintiffs and others did not receive their final paychecks immediately upon
                                    21 involuntary termination or within 72 hours of voluntary separation, were not paid
                                    22 final wages at the location of employment, and said final paychecks did not include
                                    23 all wages due to the employee.
                                    24         48.   For example, on or about May 12, 2023, when Defendants terminated the
                                    25 named Plaintiff, Plaintiff alleges that Defendants failed to pay the named Plaintiff all
                                    26 unpaid wages in Plaintiff’s final paycheck or in a timely manner pursuant to law.
                                    27         49.   To date, Plaintiff alleges that Defendants have not paid Plaintiff all of
                                    28 Plaintiff’s wages due and payable, in an amount to be proven at trial.
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                                     1         50.    Plaintiffs’ derivative claims are also premised, in part, on Plaintiffs’ right
                                     2 to pursue all Labor Code claims on behalf of Aggrieved Employees per Huff v.
                                     3 Securitas Security Services USA, Inc. (2018) 23 Cal.App.5th 745.
                                     4 Retaliation.
                                     5         51.    On May 12, 2023, at about 4:30 p.m. Pacific Standard Time (PST), the
                                     6 named Plaintiff, via counsel, sent a request for her personnel file and payroll records
                                     7 via email to the Defendants.
                                     8         52.    On May 12, 2023, at about 5:49 p.m. Pacific Standard Time (PST),
                                     9 Defendants sent the named Plaintiff an email telling her she was terminated.
                                    10         53.    The named Plaintiff is informed and believes and based thereupon
                                    11 alleges that Defendants terminated her employment because of the letter her lawyer
                                    12 sent in retaliation for her exercising her rights as an employee in violation of
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                                    13 California law.
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                                    14                   REPRESENTATIVE ACTION (PAGA) CLAIMS
                                    15         54. This wage and hour representative action filed pursuant to PAGA, §§ 2698,
                                    16 2699 generally consists of the following group:
                                    17                All current or former people Defendants employed in
                                    18                California from May 16, 2022 to the present.
                                    19         55. All members of the represented group are referred to as the “Aggrieved
                                    20 Employees.”
                                    21         56.    The “Representative Period” means from May 16, 2022 to the present.
                                    22         57.    Plaintiff further alleges, on information and belief, that Aggrieved
                                    23 Employees, did not receive all wages due at the time their employment ended with
                                    24 Defendants.
                                    25         58.    On information and belief, Defendants current and former employees
                                    26 were subject to wage and hour violations by Defendants, including failing to be paid
                                    27 for all wages due.
                                    28         59.    California law provides that an employee may file an action against an
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                                     1 employer for penalties in connection with violations of the Labor Code and Wage
                                     2 Orders provided the aggrieved employee file an action on behalf of him or herself and
                                     3 similarly situated current and former employees.
                                     4         60.   At all material times, Defendants and DOES 1 through 50 were and/or
                                     5 are Aggrieved Employees’ employers or persons acting on behalf of Aggrieved
                                     6 Employees’ employer, within the meaning of California Labor Code § 558, who
                                     7 violated or caused to be violated, a section of Part 2, Chapter 1 of the California
                                     8 Labor Code or any provision regulating hours and days of work in any Order of the
                                     9 Industrial Welfare Commission and, as such, are subject to penalties for each
                                    10 underpaid employee as set for in Labor Code § 558.
                                    11         61.   As set forth in further detail below, because of the analysis and
                                    12 investigation of the Plaintiffs’ claims, Plaintiffs’ attorneys sent the required
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                                    13 correspondence to the California Labor and Workforce Development Agency
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                                    14 (LWDA) and to Defendants informing Defendants of Plaintiffs’ claims and Plaintiffs’
                                    15 intent to pursue litigation.
                                    16                      EXHAUSTION OF ADMINISTRATIVE REMEDIES
                                    17         62.   Pursuant to the PAGA, on May 16, 2023, Plaintiffs, et al., via counsel,
                                    18 sent correspondence to the LWDA and Defendants via certified U.S. Mail indicating
                                    19 that Plaintiffs are pursuing the claims alleged in this Complaint.
                                    20         63.   The statutory period for Plaintiffs has not expired for the letter alleged
                                    21 above and the LWDA did not serve Plaintiffs with notice of intent to assume
                                    22 jurisdiction over the applicable penalty claims and did not provide notice as set forth
                                    23 in Labor Code § 2699.3(a)(2)(A) within the statutory period.
                                    24         64.   Therefore, Plaintiffs have not exhausted Plaintiffs’ administrative
                                    25 remedies to pursue claims and remedies as authorized by the PAGA, but once the
                                    26 statutory waiting period expires, Plaintiffs will file an amended Complaint.
                                    27         65.   The Causes of Action alleged herein are appropriately suited for a
                                    28 Representative Action under PAGA (Labor Code § 2698, et seq.) because:
                                                                                - 10 -
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                                     1               a. This action involves allegations of violations of provisions of
                                     2               the California Labor Code that provide for a civil penalty to be
                                     3               assessed and collected by the LWDA or any departments,
                                     4               divisions, commissions, boards, agencies, or employees;
                                     5               b. Plaintiffs are “aggrieved employees” because Plaintiffs were
                                     6               employed by the alleged violator and had one or more of the
                                     7               Labor Code violations alleged on this Complaint committed
                                     8               against them; and
                                     9               c. Plaintiffs have satisfied the procedural requirements of
                                    10               Labor Code § 2699.3, as set forth above.
                                    11                               FIRST CAUSE OF ACTION
                                    12                        Representative Claim via the PAGA for
Rancho Santa Fe, California 92091
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                                    13                 Failure to Pay State Minimum/Regular/Local Wages
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                                    14          in Violation of California Labor Code §§ 200, 218.5, 1182.12, 1194,
                                    15          1197, 1197.1, 1811, 1815, and 1198 via the applicable Wage Order
                                    16                                   (Against all Defendants)
                                    17         66.   Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                    18 as though set forth herein.
                                    19         67.   Pursuant to California law, including but not limited to Labor Code §§
                                    20 200, 218.5, 1194, 1197, 1197.1, 1811, 1815, 1198, and depending on the local
                                    21 jurisdiction, such as the Cities of Los Angeles, San Diego, San Francisco, etc., it is
                                    22 unlawful for a California employer to suffer or permit an employee to work without
                                    23 paying wages for all hours worked, as required by the applicable Industrial Welfare
                                    24 Commission (IWC) Wage Order and/or local law.
                                    25         68.   Plaintiffs are informed and believe and based thereupon allege that
                                    26 during all times relevant, Plaintiffs were not paid minimum/regular/local jurisdiction
                                    27 wages for all hours suffered or permitted to work in violation of California law.
                                    28         69.   During all times relevant, Defendants were required to pay Plaintiffs and
                                                                               - 11 -
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                                     1 other members of the Aggrieved Employees their respective hourly rate for all hours
                                     2 worked and/or minimum wages per state law or applicable local law.
                                     3         70.   During all times relevant, at least one of the IWC Wage Orders applied
                                     4 to Plaintiffs’ employment with Defendants.
                                     5         71.   Pursuant to the applicable Wage Order, “hours worked” include the time
                                     6 during which an employee is “suffered or permitted to work, whether or not required
                                     7 to do so.”
                                     8         72.   During the PAGA Period and based on the misconduct alleged above,
                                     9 Defendants did not pay Plaintiffs and Aggrieved Employees minimum/regular/local
                                    10 wages for all hours suffered or permitted to work in violation of state and/or local
                                    11 law.
                                    12         73.   Labor Code § 1194 subdivision (a) permits an action to recover wages
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                                    13 because of the payment of a wage less than the minimum wage “applicable to the
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                                    14 employee” including attorneys’ fees, costs, and interest.
                                    15         74.   At all material times, Defendants were and/or are Aggrieved Employees’
                                    16 employers or persons acting on behalf of Aggrieved Employees’ employer, within the
                                    17 meaning of California Labor Code §§ 558 and 558.1, who violated or caused to be
                                    18 violated, a section of Part 2, Chapter 1 of the California Labor Code or any provision
                                    19 regulating hours and days of work in any Order of the Industrial Welfare Commission
                                    20 and, as such, are subject to civil penalties for each underpaid employee as set for in
                                    21 Labor Code § 558.
                                    22         75.   In committing the violations of state law as herein alleged, Plaintiffs are
                                    23 informed and believe based there upon allege that Defendants have knowingly and
                                    24 willfully refused to perform their obligations to compensate Aggrieved Employees for
                                    25 all wages earned and all hours worked.
                                    26         76.   As a direct result, Aggrieved Employees have suffered and continue to
                                    27 suffer, substantial losses related to the use and enjoyment of such compensation,
                                    28 wages, lost interest on such monies and expenses and attorneys’ fees in seeking to
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                                     1 compel Defendants to fully perform their obligations under state and/or local law.
                                     2        77.    Labor Code § 2699, et seq. imposes upon Defendants, and each of them,
                                     3 a penalty of one hundred dollars ($100.00) for each aggrieved employee per pay
                                     4 period for the initial violation and two hundred ($200.00) for each aggrieved
                                     5 employee per pay period for each subsequent violation in which Defendants violated
                                     6 the minimum/regular/ and or local wage provisions of California law, including but
                                     7 not limited to §§ 216, 218, 218.5, 227.3, 558, 1194, 1197, 1197.1, 1811, 1815,
                                     8 1182.12, 1194.2, 1197, and 1198 the exact amount of the applicable penalty is all in
                                     9 an amount to be shown according to proof at trial.
                                    10        78.    Pursuant to Labor Code § 2699, Plaintiffs and Aggrieved Employees
                                    11 seek to recover from Defendants, and each of them, penalties, attorneys’ fees, and
                                    12 costs incurred herein.
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                                    13                             SECOND CAUSE OF ACTION
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                                    14                          Representative Claim via the PAGA for
                                    15          Failure to Pay State Overtime and/or Double-Time Compensation
                                    16         in Violation of California Labor Code §§ 216, 218, 218.5, 225.5, 510,
                                    17                            1182.12, 1194, 1194.2, 1197, 1197.1,
                                    18              1811, 1815, and 1198 via the Applicable IWC Wage Order
                                    19                                  (Against all Defendants)
                                    20        79.    Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                    21 as though set forth herein.
                                    22        80.    California law requires an employer to pay each employee for the actual
                                    23 hours worked. (See Cal. Labor Code § 200, et seq.)
                                    24        81.    During all times relevant, one or more of the IWC Wage Orders applied
                                    25 to Plaintiffs’ employment with Defendants.
                                    26        82.    Pursuant to § 2(K) of the applicable Wage Order(s), including Wage
                                    27 Order 4, “hours worked” include the time during which an employee is “suffered or
                                    28 permitted to work, whether or not required to do so.”
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                                     1         83.   Pursuant to Labor Code §§ 510, 1194, 1194.2, and § 3 of the applicable
                                     2 Wage Order(s), for each hour (or fraction thereof) an employee works up to forty (40)
                                     3 hours in a week and eight (8) hours in a day, the employer must pay the employee’s
                                     4 regular hourly wage.
                                     5         84.   For each hour (or fraction thereof) an employee works over forty (40)
                                     6 hours in a week or more than eight (8) hours in a workday the employer must pay the
                                     7 rate of one and a half times the employee’s regular hourly wage. (Ibid.)
                                     8         85.   For each hour (or fraction thereof) an employee works more than twelve
                                     9 (12) hours in one day or more than eight (8) hours a day on the seventh consecutive
                                    10 day of work, the employer must compensate the employee at the rate of no less than
                                    11 twice the regular rate of pay for that employee. (Ibid.)
                                    12         86.   During all times relevant, and pursuant to company policy and/or
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                                    13 practice and/or direction, Defendants required Aggrieved Employees to work more
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                                    14 than 40 hours per week and/or eight hours in a workday to which they had the right to
                                    15 receive wages and Defendants did not pay Plaintiff and the Aggrieved Employees all
                                    16 overtime compensation to which they should have received at the applicable wage
                                    17 rate.
                                    18         87.   As alleged herein, Defendants failed to pay Aggrieved Employees all
                                    19 overtime to which they had a right to receive.
                                    20         88.   In committing the violations of state law as herein alleged, Defendants
                                    21 have knowingly and willfully refused to perform their obligations to compensate
                                    22 Aggrieved Employees for all wages earned and all hours worked.
                                    23         89.   At all material times, Defendants were and/or are Aggrieved Employees’
                                    24 employers or persons acting on behalf of Aggrieved Employees’ employer, within the
                                    25 meaning of California Labor Code §§ 558 and 558.1, who violated or caused to be
                                    26 violated, a section of Part 2, Chapter 1 of the California Labor Code or any provision
                                    27 regulating hours and days of work in any Order of the Industrial Welfare Commission
                                    28 and, as such, are subject to penalties for each underpaid employee as set for in Labor
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                                     1 Code § 558.
                                     2        90.    In committing the violations of state law as herein alleged, Defendants
                                     3 have knowingly and willfully refused to perform their obligations to compensate
                                     4 Aggrieved Employees for all wages earned and all hours worked.
                                     5        91.    Labor Code § 2699, et seq. imposes upon Defendants, and each of them,
                                     6 a penalty of one hundred dollars ($100.00) for each aggrieved employee per pay
                                     7 period for the initial violation and two hundred ($200.00) for each aggrieved
                                     8 employee per pay period for each subsequent violation in which Defendants violated
                                     9 the overtime provisions of the Labor Code, including but not limited to §§ 510, 558
                                    10 and 1194, the exact amount of the penalties sought is in an amount to be shown
                                    11 according to proof at trial.
                                    12        92.Pursuant to Labor Code § 2699, et seq. Plaintiffs seek to recover from
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                                    13 Defendants, and each of them, penalties, attorneys’ fees, and costs incurred herein.
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                                    14                                THIRD CAUSE OF ACTION
                                    15                        Representative Claim via the PAGA for
                                    16      Failure to Timely Pay Earned Wages Upon Separation of Employment in
                                    17   Violation of California Labor Code §§ 201, 201.3, 202, 203, 204, 204b, 204.2, 210,
                                    18               218.5, 218.6, 256, and 1198 via the applicable Wage Order
                                    19                                  (Against all Defendants)
                                    20        93.Plaintiffs re-allege and incorporate by reference the foregoing allegations as
                                    21 though set forth herein.
                                    22        94.    Pursuant to Labor Code § 201, “If an employer discharges an employee,
                                    23 the wages earned and unpaid at the time of discharge are due and payable
                                    24 immediately.”
                                    25        95.    Pursuant to Labor Code § 201.3, “If an employee is assigned to work for
                                    26 a client on a day-to-day basis, that employee’s wages are due and payable at the end
                                    27 of each day, regardless of when the assignment ends…”
                                    28        96.    Pursuant to Labor Code § 202, “If an employee not having a written
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                                     1 contract for a definite period quits his or her employment, his or her wages shall
                                     2 become due and payable not later than 72 hours thereafter, unless the employee has
                                     3 given 72 hours previous notice of his or her intention to quit, in which case the
                                     4 employee is entitled to his or her wages at the time of quitting.”
                                     5         97.   Labor Code § 203 provides, in pertinent part: “If an employer willfully
                                     6 fails to pay, without abatement or reduction, ... any wages of an employee who is
                                     7 discharged or who quits, the wages of the employee shall continue as a penalty from
                                     8 the due date thereof at the same rate until paid or until an action therefore is
                                     9 commenced; but the wages shall not continue for more than 30 days. ..."
                                    10         98.   Pursuant to Labor Code § 204, “all wages … earned by any person in
                                    11 any employment are due and payable twice during each calendar month, on days
                                    12 designated in advance by the employer as the regular paydays.”
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                                    13         99.   Pursuant to Labor Code § 204b, “Labor performed by a weekly-paid
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                                    14 employee during any calendar week and prior to or on the regular payday shall be
                                    15 paid for not later than the regular payday of the employer for such weekly-paid
                                    16 employee falling during the following calendar week.”
                                    17         100. Defendants did not properly pay Plaintiff and Aggrieved Employees
                                    18 pursuant to the requirements of Labor Code, including but not limited to §§ 201,
                                    19 201.3, 202, 203, 204, 204b, 204.2, 210, 218.5, 218.6, 256 and thereby Plaintiffs seek
                                    20 the unpaid wages.
                                    21         101. To date, Defendants have not paid terminated Aggrieved Employees all
                                    22 earned wages as required by law and did not and continue to fails to pay current
                                    23 employees in a timely manner as required by law.
                                    24         102. At all material times, Defendants and DOES 1 through 50 were and/or
                                    25 are Aggrieved Employees’ employers or persons acting on behalf of Aggrieved
                                    26 Employees’ employer, within the meaning of California Labor Code § 558, who
                                    27 violated or caused to be violated, a section of Part 2, Chapter 1 of the California
                                    28 Labor Code or any provision regulating hours and days of work in any Order of the
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                                     1 Industrial Welfare Commission and, as such, are subject to penalties for each
                                     2 underpaid employee as set for in Labor Code § 558.
                                     3        103. In committing the violations of state law as herein alleged, Defendants
                                     4 have knowingly and willfully refused to perform their obligations to compensate
                                     5 Aggrieved Employees for all wages earned and all hours worked.
                                     6        104. Labor Code § 2699, et seq. imposes upon Defendants, and each of them,
                                     7 a penalty of one hundred dollars ($100.00) for each aggrieved employee per pay
                                     8 period for the initial violation and two hundred ($200.00) for each aggrieved
                                     9 employee per pay period for each subsequent violation in which Defendants violated
                                    10 the Labor Code, including but not limited to §§ 201, 201.3, 202, 203, 204, 204b,
                                    11 204.2, 210, 218.5, 218.6, 256.
                                    12        105. As alleged above, Defendants have deprived Plaintiffs and Aggrieved
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                                    13 Employees of their rightfully earned wages as a direct and proximate result of
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                                    14 Defendants’ failure and refusal to pay said compensation and for the reasons alleged
                                    15 in this Complaint.
                                    16        106. Wherefore, the Plaintiffs request all remedies available to them and to
                                    17 the Aggrieved Employees pursuant to the PAGA.
                                    18                           FOURTH CAUSE OF ACTION
                                    19                Representative Claim for Penalties via the PAGA for
                                    20    Failure to Comply with the Meal and Rest Break Requirements Under Labor
                                    21          Code §§ 226.7, 512, and 1198 via the applicable IWC Wage Order
                                    22                                  (Against all Defendants)
                                    23        107. Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                    24 as though set forth herein.
                                    25        108. Based on the misconduct alleged in this Complaint, Defendants failed to
                                    26 pay Plaintiff and Aggrieved Employees premium pay for all their missed meal and
                                    27 rest breaks and failed to comply with Labor Code §§ 226.7, 512, and 1198.
                                    28        109. Because of Defendants’ illegal pay practices, said Defendants failed to
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                                     1 pay Plaintiff and Aggrieved Employees for all meal and rest breaks despite their
                                     2 requirement under California law and, as such, all culpable Defendants are required to
                                     3 pay Plaintiff and Aggrieved Employees for rest break and/or meal break premium
                                     4 wages.
                                     5        110. Defendants also failed to provide Plaintiff, and Aggrieved Employees,
                                     6 legally-compliant meal and rest periods, or compensation in lieu thereof, during their
                                     7 employment by said Defendants.
                                     8        111. Cal. Labor Code § 2699, et seq. imposes upon all culpable Defendants a
                                     9 penalty of one hundred dollars ($100.00) for each aggrieved employee per pay period
                                    10 for the initial violation and two hundred ($200.00) for each aggrieved employee per
                                    11 pay period for each subsequent violation in which all culpable Defendants violated
                                    12 Cal. Labor Code §§ 226.7 and 512, the exact amount of the applicable penalty is all in
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                                    13 an amount to be shown according to proof at trial.
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                                    14        112. Wherefore, the Plaintiffs request all remedies available to them and to
                                    15 the Aggrieved Employees pursuant to the PAGA.
                                    16                               FIFTH CAUSE OF ACTION
                                    17                 Representative Claim for Penalties via the PAGA for
                                    18               Violations of California Labor Code §§ 226, 226.3, 226.6,
                                    19                    and 1198 via the applicable IWC Wage Order
                                    20                                 (Against all Defendants)
                                    21        113. Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                    22 as though set forth herein.
                                    23        114. Plaintiffs allege that Labor Code § 226 subdivision (a) requires, in
                                    24 pertinent part, that every employer shall, “semimonthly or at the time of each
                                    25 payment of wages, shall furnish to his or her employees, either as a detachable part of
                                    26 the check, draft, or voucher paying the employee's wages, or separately if wages are
                                    27 paid by personal check or cash, an accurate itemized statement in writing showing (1)
                                    28 gross wages earned, (2) total hours worked by the employee. . . (3) the number of
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                                     1 piece-rate units earned and any applicable piece rate if the employee is paid on a
                                     2 piece-rate basis, (4) all deductions, provided that all deductions made on written
                                     3 orders of the employee may be aggregated and shown as one item, (5) net wages
                                     4 earned, (6) the inclusive dates of the period for which the employee is paid, (7) the
                                     5 name of the employee and only the last four digits of his or her social security
                                     6 number…, (8) the name and address of the legal entity that is the employer. . ., and
                                     7 (9) all applicable hourly rates in effect during the pay period and the corresponding
                                     8 number of hours worked at each hourly rate by the employee and, beginning July 1,
                                     9 2013, if the employer is a temporary services employer as defined in Section 201.3,
                                    10 the rate of pay and the total hours worked for each temporary services assignment. . .”
                                    11 (Labor Code § 226 subdivision (a).)
                                    12         115. Based on the foregoing allegations, Defendants did not comply with
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                                    13 Labor Code § 226 and, thus, Plaintiffs assert this claim as a stand-alone claim and
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                                    14 derivative claim.
                                    15         116. Cal. Labor Code § 2699, et seq. imposes upon all culpable Defendants a
                                    16 penalty of one hundred dollars ($100.00) for each aggrieved employee per pay period
                                    17 for the initial violation and two hundred ($200.00) for each aggrieved employee per
                                    18 pay period for each subsequent violation in which all culpable Defendants violated
                                    19 the applicable Cal. Labor Code provisions alleged in this Complaint, the exact amount
                                    20 of the applicable penalty is all in an amount to be shown according to proof at trial.
                                    21         117. Wherefore, Plaintiffs request all remedies available to them and to the
                                    22 Aggrieved Employees pursuant to the PAGA.
                                    23                              SIXTH CAUSE OF ACTION
                                    24                     Representative Claim for Penalties via the PAGA
                                    25         For Failure to Maintain Required Records in Violation of California
                                    26            Labor Code §§ 1174 and 1198 via the Applicable Wage Order
                                    27                                 (Against All Defendants)
                                    28         118. Plaintiffs re-allege and incorporate by reference the foregoing allegations
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                                     1 as though set forth herein.
                                     2         119. Section 7 of the applicable Wage Order requires every employer to
                                     3 maintain time and payroll records.
                                     4         120. Defendants failed to comply with § 7 of the applicable IWC Orders and
                                     5 with Labor Code § 1174 by failing to maintain certain records which employers are
                                     6 required to maintain, including but not limited to, all wage records.
                                     7         121. Cal. Labor Code § 2699, et seq. imposes upon all culpable Defendants a
                                     8 penalty of one hundred dollars ($100.00) for each aggrieved employee per pay period
                                     9 for the initial violation and two hundred ($200.00) for each aggrieved employee per
                                    10 pay period for each subsequent violation in which all culpable Defendants violated
                                    11 the applicable Cal. Labor Code provisions alleged in this Complaint, the exact amount
                                    12 of the applicable penalty is all in an amount to be shown according to proof at trial.
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                                    13         122. For the reasons alleged herein, Plaintiffs seek all available remedies
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                                    14 pursuant to the PAGA in an amount to be proven at trial including but not limited to
                                    15 penalties, attorneys’ fees, costs, and interest pursuant to law.
                                    16                             SEVENTH CAUSE OF ACTION
                                    17              Representative Claim for Penalties via the PAGA Claim for
                                    18                         Failure to Reimburse Business Expenses
                                    19                      in Violation of Labor Code §§ 1198 and 2802
                                    20                                  (Against All Defendants)
                                    21         123. As a separate and distinct cause of action, Plaintiff re-alleges and
                                    22 incorporates by reference, as though fully set forth herein, all the allegations
                                    23 contained in this Complaint.
                                    24         124. Pursuant to California Labor Code § 2802, an employer must indemnify
                                    25 its employees “for all necessary expenditures or losses incurred by the employee in
                                    26 direct consequence of the discharge of his or her duties . . . .”
                                    27         125. Plaintiffs made necessary expenditures and incurred losses as a direct
                                    28 consequence of the discharge of their duties and in obedience to the directions of
                                                                                - 20 -
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                                     1 Defendants including, but not limited to mileage, automobile, cell phone, and internet
                                     2 expenses.
                                     3         126. On information and belief, Defendants knew Plaintiffs were incurring the
                                     4 expenses and were responsible for reimbursing Aggrieved Employees for their
                                     5 expenditures and losses as a direct consequence of the discharge of their duties, but
                                     6 failed to do so.
                                     7         127. Cal. Labor Code § 2699, et seq. imposes upon all culpable Defendants a
                                     8 penalty of one hundred dollars ($100.00) for each aggrieved employee per pay period
                                     9 for the initial violation and two hundred ($200.00) for each aggrieved employee per
                                    10 pay period for each subsequent violation in which all culpable Defendants violated
                                    11 the applicable Cal. Labor Code provisions alleged in this Complaint, including but not
                                    12 limited to Labor Code §§ 2802 and 1198, the exact amount of the applicable penalty
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                                    13 is all in an amount to be shown according to proof at trial, which Plaintiffs seek.
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                                    14         128. For the reasons alleged herein, Plaintiffs seek all available remedies
                                    15 pursuant to the PAGA in an amount to be proven at trial including but not limited to
                                    16 penalties, attorneys’ fees, costs, and interest pursuant to law.
                                    17                                EIGHTH CAUSE OF ACTION
                                    18             Representative Claim for Civil Penalties Under the PAGA for
                                    19                     Violations of Labor Code §§ 246 and 246(l) and
                                    20                         Municipal Paid Sick Leave Ordinances
                                    21                                  (Against all Defendants)
                                    22         129. Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                    23 as though set forth herein.
                                    24         130. Under Labor Code §§ 246, 246(l), and in some jurisdictions local law,
                                    25 employers in California must provide employees with paid sick leave to be paid at a
                                    26 specified rate of pay which must factor in additional earnings during a given pay
                                    27 period wherein such leave is used. Wood v. Kaiser Foundation Hospitals, 88 Cal.
                                    28 App. 5th 742 (2023).
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                                     1         131. Defendants did not pay sick leave to Aggrieved Employees in violation
                                     2 of California law.
                                     3         132. Defendants have failed to (1) provide paid sick leave; (2) include
                                     4 required information about paid sick leave in wage notices and/or wage statements,
                                     5 including without limitation information on the amount of paid sick leave hours
                                     6 accrued; (3) provide required information about paid sick leave to employees,
                                     7 including without limitation at the time of hire; (4) at the time of hire, provide
                                     8 employees with written notice of the employer's name, address, and telephone
                                     9 number; (5) provide required information about paid sick leave in English, Spanish,
                                    10 Chinese, and in all languages spoken by 5% or more of the employees; (6) post
                                    11 required sick leave notices; (7) maintain payroll records; and/or (8) provide wage
                                    12 statements, and therefore Defendants have violated one or more municipal sick leave
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                                    13 ordinances, including without limitation the sick leave ordinances of Berkeley,
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                                    14 Emeryville, Long Beach, Los Angeles, Oakland, San Diego, San Francisco, and Santa
                                    15 Monica.
                                    16         133. The PAGA imposes upon Defendants, and each of them, civil penalties
                                    17 for violating Labor Code §§ 246 and 246(l).
                                    18         134. Civil penalties under the PAGA are equitable in nature. Nationwide
                                    19 Biweekly Admin., Inc. v. Superior Ct. of Alameda Cty., 9 Cal. 5th 279 (2020).
                                    20         135. Labor Code § 2699(f) imposes upon Defendants, and each of them, civil
                                    21 penalties of one hundred dollars ($100) per pay period, per aggrieved employee for
                                    22 initial violations, and two hundred dollars ($200) per pay period, per aggrieved
                                    23 employee for subsequent violations for all Labor Code provisions for which a civil
                                    24 penalty is not specifically provided.
                                    25         136. Pursuant to the PAGA, Labor Code § 2699(f), and/or any other
                                    26 applicable statute, Plaintiffs are seeking civil penalties against Defendants in an
                                    27 amount to be shown according to proof.
                                    28         137. Pursuant to Labor Code § 248.5, if applicable herein, Plaintiffs seek to
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                                     1 recover attorneys’ fees, costs, equitable relief in the form of civil penalties, in an
                                     2 amount to be shown according to proof.
                                     3         138. Pursuant to the PAGA, and/or Labor Code § 2699(g), Plaintiffs seek to
                                     4 recover reasonable attorneys’ fees, costs, and filing fees paid to the LWDA in an
                                     5 amount to be shown according to proof.
                                     6         139. Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                     7 as though set forth herein.
                                     8                                 NINTH CAUSE OF ACTION
                                     9                    Representative Claim for Penalties via the PAGA
                                    10                 Under California Labor Code §§ 2698, 2699, et seq. for
                                    11         Individual and Representative Claim for PAGA Penalties and Wage
                                    12   Under California Labor Code §§ 2698, 2699, et seq. for Violations of California
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                                    13     Labor Code subdivision (k) of Section 96, Sections 98.6, 201.5, 201.7, 203.1,
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                                    14 203.5, 204a, 204.1, 204.2, 205, 205.5, 206, 206.5, 208, 209, and 212, subdivision (d)
                                    15    of Section 213, Sections 221, 222, 222.5, 223, 224, 227, 227.3, 230, 230.1, 230.2,
                                    16   230.3, 230.4, 230.7, 230.8, and 231, subdivision (c) of Section 232, subdivision (c)
                                    17   of Section 232.5, Sections 233, 234, 245-249, 351, 353, and 403, subdivision (b) of
                                    18   Section 404, Sections 432.2, 432.5, 432.6, 432.7, 435, 450, 511, 513, 551, 552, 601,
                                    19    602, 603, 604, 750, 751.8, 800, 850, 851, 851.5, 852, 921, 922, 923, 970, 973, 976,
                                    20   1021, 1021.5, 1025, 1026, 1101, 1102, 1102.5, 1153, 1197.5, 1198 via the appliable
                                    21   Wage Order, subdivision (b) of Section 1198.3, Sections 1199.5, 1290, 1292, 1293,
                                    22    1293.1, 1294, 1294.1, 1294.5, 1296, 1297, 1298, 1301, 1308, 1308.1, 1308.7, 1309,
                                    23     1309.5, 1391, 1391.1, 1391.2, 1392, 1683, and 1695, subdivision (a) of Section
                                    24     1695.5, Sections 1695.55, 1695.6, 1695.7, 1695.8, 1695.9, 1696, 1696.5, 1696.6,
                                    25   1697.1, 1700.25, 1700.26, 1700.31, 1700.32, 1700.40, 1700.47, 1735, 1777.5, 2651,
                                    26    and 2673, subdivision (a) of Section 2673.1, Sections 2695.2, 2751, 2800, 2801,
                                    27    2806, 2810, 2810.5, subdivision (b) of Section 2929, and Sections 3073.6, 6310,
                                    28                    6311, and 6399.7 and the Applicable Wage Order
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                                     1                                  (Against all Defendants)
                                     2         140. Plaintiffs re-allege and incorporate by reference the foregoing allegations
                                     3 as though set forth herein.
                                     4         141. This claim is premised, in part, on Plaintiffs’ right to pursue all Labor
                                     5 Code claims on behalf of Aggrieved Employees per Huff v. Securitas Security
                                     6 Services USA, Inc. (2018) 23 Cal.App.5th 745.
                                     7         142. Pursuant to Labor Code § 2699, any provision of the Labor Code that
                                     8 provides for a civil penalty to be assessed and collected by the LWDA or any of its
                                     9 departments, divisions, commissions, boards, agencies or employees for violation of
                                    10 the code may, as an alternative, be recovered through a civil action brought by an
                                    11 aggrieved employee on behalf of himself or herself and other current or former
                                    12 employees pursuant to the procedures specified in Labor Code § 2699.3.
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                                    13         143. Plaintiffs are informed and believe, and based thereon allege, that
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                                    14 because of the acts alleged above and Defendants’ violations of the Labor Code
                                    15 provisions alleged herein, Plaintiffs are entitled to penalties under Labor Code §§
                                    16 2698 and 2699.
                                    17         144. Plaintiffs are “aggrieved employees” because Plaintiffs were employed
                                    18 by the alleged violator and had one or more of the alleged violations committed
                                    19 against Plaintiffs, and therefore are properly suited to represent the interests of other
                                    20 current and former Represented Employees.
                                    21         145. Labor Code § 2699(f) imposes upon Defendants, and each of them, civil
                                    22 penalties of one hundred dollars ($100) per pay period, per aggrieved employee for
                                    23 initial violations, and two hundred dollars ($200) per pay period, per aggrieved
                                    24 employee for subsequent violations for all Labor Code provisions for which a civil
                                    25 penalty is not specifically provided.
                                    26         146. Labor Code § 2699, et seq. imposes upon Defendants, and each of them,
                                    27 penalties for violating Labor Code subdivision (k) of Section 96, Sections 98.6, 201.5,
                                    28 201.7, 203.1, 203.5, 204a, 204.1, 204.2, 205, 205.5, 206, 206.5, 208, 209, and 212,
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                                     1 subdivision (d) of Section 213, Sections 221, 222, 222.5, 223, 224, 227, 227.3, 230,
                                     2 230.1, 230.2, 230.3, 230.4, 230.7, 230.8, and 231, subdivision (c) of Section 232,
                                     3 subdivision (c) of Section 232.5, Sections 233, 234, 245-249, 351, 353, and 403,
                                     4 subdivision (b) of Section 404, Sections 432.2, 432.5, 432.7, 435, 450, 511, 513, 551,
                                     5 552, 601, 602, 603, 604, 750, 751.8, 800, 850, 851, 851.5, 852, 921, 922, 923, 970,
                                     6 973, 976, 1021, 1021.5, 1025, 1026, 1101, 1102, 1102.5, 1153, 1197.5, 1198 via the
                                     7 applicable Wage Order, subdivision (b) of Section 1198.3, Sections 1199.5, 1290,
                                     8 1292, 1293, 1293.1, 1294, 1294.1, 1294.5, 1296, 1297, 1298, 1301, 1308, 1308.1,
                                     9 1308.7, 1309, 1309.5, 1391, 1391.1, 1391.2, 1392, 1683, and 1695, subdivision (a) of
                                    10 Section 1695.5, Sections 1695.55, 1695.6, 1695.7, 1695.8, 1695.9, 1696, 1696.5,
                                    11 1696.6, 1697.1, 1700.25, 1700.26, 1700.31, 1700.32, 1700.40, 1700.47, 1735, 1777.5,
                                    12 2651, and 2673, subdivision (a) of Section 2673.1, Sections 2695.2, 2800, 2801,
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                                    13 2806, and 2810, subdivision (b) of Section 2929, and Sections 3073.6, 6310, 6311,
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                                    14 and 6399.7.
                                    15         147. Labor Code § 558 establishes a civil penalty as follows: Any employer
                                    16 or other person acting on behalf of an employer who violates, or causes to be violated,
                                    17 a section of this chapter or any provision regulating hours and days of work in any
                                    18 order of the Industrial Welfare Commission (including the “Hours and Days of Work”
                                    19 section of the Wage Order) shall be subject to a civil penalty of (1) for any initial
                                    20 violation, fifty dollars ($50) for each underpaid employee for each pay period for
                                    21 which the employee was underpaid in addition to an amount sufficient to recover
                                    22 underpaid wages; (2) for each subsequent violation, one hundred dollars ($100) for
                                    23 each underpaid employee for each pay period for which the employee was underpaid
                                    24 in addition to an amount sufficient to recover underpaid wages; and (3) wages
                                    25 recovered pursuant to this section shall be paid to the affected employee.
                                    26         148. Plaintiffs seek penalties for Defendants’ conduct as alleged herein as
                                    27 permitted by law.
                                    28         149. Pursuant to Labor Code § 2698, et seq., Plaintiffs seek to recover
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                                     1 attorney’s fees, costs, civil penalties, and wages on behalf of Plaintiff and other
                                     2 current and former Represented Employees as alleged herein in an amount to be
                                     3 shown according to proof at trial and within the jurisdictional limits of this Court.
                                     4                                 PRAYER FOR RELIEF
                                     5        WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
                                     6        1.     That Defendants be found liable to the Plaintiffs;
                                     7        2.     For all remedies available to the Plaintiffs under the applicable
                                     8 provisions of the Labor Code via the PAGA Labor Code § 2698, et seq. including an
                                     9 award of attorneys’ fees, costs, interest, liquidated damages, damages, penalties and
                                    10 waiting time penalties according to proof to the extent permitted by law;
                                    11        3.     For maximum civil penalties available under the Labor Code and
                                    12 applicable Wage Order as described more particularly in this Complaint,
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                                    13 representative PAGA claims including the payment of wages as set forth in Labor
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                                    14 Code § 558;
                                    15        4.     That Aggrieved Employees be awarded reasonable attorneys’ fees where
                                    16 available by law, including but not limited to pursuant to Labor Code § 2698, et seq.,
                                    17 Code of Civil Procedure § 1021.5, and/or other applicable laws; and
                                    18        5.      For any other relief the Court may deem just, proper, and equitable.
                                    19
                                         Dated: May 16, 2023                          Law Office of Thomas D. Rutledge
                                    20
                                    21                                                By: Thomas D. Rutledge
                                                                                      /s/Thomas D. Rutledge, Esq.
                                    22                                                Attorneys for Plaintiffs
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